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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA

v.                                             Case No. 3:06 cr 268 (PCD)

THOMAS BOBBITT


                              ORDER TO SHOW CAUSE

      The Defendant, Thomas Bobbitt, moves for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense in accordance with 18 USC 3582 [Doc. No.1429]

       It is hereby ORDERED, that the Government show cause on or before February

19, 2010, as to why defendant’s sentence should not be reduced.

      SO ORDERED.

      Dated at New Haven, Connecticut, January 26, 2010.



                                   /s/
                                         Peter C. Dorsey Senior
                                         United States District Judge
